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                       IN THE T'NITED STATES DISTRICT COI'RT                                                                             Fonruns,ttil
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                               SOUTHERNDISTRICT OF GEORGIA
                                      DUBI,IN DIVISION
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U N I T E D S T A T E SO F AMER] CA                                                  )K
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                                                                                                      cR 310-014
                                                                                     *
nl^tTr:IJllr     Mf-nrTE      E Ttr                                                  *




                                                                         ORDER


            Defendant has fifed                                 a motion for                                 reduction                    of sentence under

l8     U.S.C.           S 3582(c) (2) on the                                                 basis              thal            Amendnent 782 to                                   the

United           States              Senlencing                     Guidelines                               has revised                        the         guidelines

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782 became effecLive                                      on November 1,                                        20L4, no defendant                                      may be

released              on            the        basis              of           the                retroactlve                            amendment before

November I,2AI5.                               See U.S.S.G. Amend. 788.                                                            Thus, the Court will

underLake a review                              of cases involving                                                  drug crafficking                              offenses

in due course.                            If   Defendant is                                  entitled                        to a sentence reduction

as      a       resu]-t              of        amendments lo                                    the              United                 States             Sentencing

Grrrdel i res -                    ' ha    Corrrr                                                                             - e d r r r : t i n nr                                F'
                                                            will             make                 such                   a                              J. s
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                                                                                                                                                                              , Lns .



Accnrr'l        i nrrl t,          naf    ah^rrt                             inn               ldnn                            362 ) is            DEE"ERRED.1

            ORDER ENTERED                            .t          Arrdrref                r         C
                                                                                                   - -a- ^- "r rdli' :               this              /2\"o'                           of

November, 2014.




                                                                                                      UNITED STA                                 DISTR]CT JUDG


            1      The             Cferk        is        directed                           to       terminate                         the       motion                for
:zlmirietr:1-i
